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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES - GENERAL

   Case No.    CV 85-4544-DMG (AGRx)                                  Date     June 26, 2020

   Title Jenny L. Flores v. William Barr, et al.


   Present: The Honorable     DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                Kane Tien                                              Miriam Baird
               Deputy Clerk                                            Court Reporter

      Attorneys Present for Plaintiff(s)                     Attorneys Present for Defendant(s)
                Peter Schey                                       Sarah B. Fabian, USDOJ
             Carlos R. Holguin


   Proceedings: STATUS CONFERENCE

          The cause is called and counsel state their appearance. Also present are Andrea Sheridan
   Ordin, Special Master/Independent Monitor, Dr. Paul Wise, ORR Juvenile Coordinator Aurora
   Miranda-Maese, ICE Juvenile Coordinator Deane Dougherty, and Gabriel Barenfeld and Bridget
   Cambria for Amici. The hearing is held by videoconference and telephone. The Court and
   counsel confer. A written order will issue.




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   CV-90                              CIVIL MINUTES - GENERAL                Initials of Deputy Clerk KT
